974 F.2d 1333
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.LeRoy RAGIN, Defendant-Appellant.
    No. 91-7602.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  Sept. 15, 1992
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, District Judge.  (CR-90-25-P, CA-90-338)
      Leroy Ragin, Appellant Pro Se.
      B. Frederic Williams, Jr., Office of the United States Attorney, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      AFFIRMED.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Leroy Ragin appeals from the district court's order refusing relief pursuant to 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Ragin, Nos.  CR-90-25-P, CA-90-338 (W.D.N.C. May 21, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    